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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

10X GENOMICS, INC. and PROGNOSYS
BIOSCIENCES, INC.,

               Plaintiffs,
                                                   C.A. No. 21-cv-653-MFK
      v.

NANOSTRING TECHNOLOGIES, INC.,

               Defendant.



               JOINT SUBMISSION REGARDING THE TRIAL TRANSCRIPT

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                        Joint Submission Regarding The Trial Transcript
                      10x Genomics & Prognosys vs. NanoString, 1:21-cv-653
                                     November 13-17, 2023

                               Video Deposition Transcript Inserts

 Volume    Page       Line     Witness / Deposition Insert     Attorney Questioner       Attachment
    2      290          9     Video Deposition Transcript of   Paul Ehrlich                    A
                              Dr. Margaret Hoang
    2      290         24     Video Deposition Transcript of   Paul Ehrlich                    B
                              Dr. Chris Merritt
    2      402         16     Video Deposition Transcript of   Paul Ehrlich                    C
                              Dr. Gary Geiss
    2      407         16     Video Deposition Transcript of   Stefani Smith                   D
                              Dr. Jaemjeong Jung
    2      407         22     Video Deposition Transcript of   Paul Ehrlich                    E
                              Ms. Anna Berdine
    3      683         19     Video Deposition Transcript of   Derek Walter                    F
                              Mr. Florian Baumgartner
    3      684          2     Video Deposition Transcript of   Derek Walter                    G
                              Dr. Zachary Bent
    3      834         24     Video Deposition Transcript of   Yi Zhang                        H
                              Ms. Annika Branting
    4      876         22     Video Deposition Transcript of   Edward Reines                   I
                              Dr. Randy Wu
    4      877          7     Video Deposition Transcript of   Derek Walter                    J
                              Dr. Nikhil Rao


                             Plaintiffs’ Trial Transcript Errata Sheet

  Volume     Page            Line                    Correction                       Reason
    1             1          14-15     “MR. LI SHEN” should be “MS. LI
                                       SHEN” (same correction on all volume
                                       cover pages)
    1             1          14-15     Please add “MS. KILEY WHITE” to
                                       the list of Tensegrity Law Group
                                       attorneys (on all volume cover pages)
    1         212              7       “comparative genomes” should be         Transcription error
                                       “comparative genomics”
    1         212              8       “comparative genomes” should be         Transcription error
                                       “comparative genomics”
    1         212             20       “(unintelligible)” should be “2011”     Transcription error
    1         213             18       “non the” should be “on the”            Transcription error
    1         213             23       “described to me very” should be        Transcription error
                                       “described very”
    1         214             10       “game of” should be “aim of”            Transcription error



                                             Page 1 of 3
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  Volume     Page     Line                  Correction                          Reason
    1        217       11     “early curriculum” should be “early        Transcription error
                              time”
    1        219        8     “called the microtolitic device” should    Transcription error
                              be “called a microfluidic device”
    1        221        3     “compacted” should be “impacted”           Transcription error
    1        225      16-17   “are kind of hardy molecules” should be    Transcription error
                              “are a kind of RNA molecules”
    1        233        2     “development” should be “genomic”          Transcription error
    1        239        1     “MR. REINES:” should be “MR.               Transcription error
                              GERRITY:”
    1        240        2     “this useful” should be “this is useful”   Transcription error
    1        243        4     “does 10x products” should be “does        Transcription error
                              10x sell products”
    1        249       23     “use it for .” should be “use it for       Transcription error
                              protein.”
    1        250       15     “site assist” should be “CytAssist”        Transcription error
    1        250       16     “site assist” should be “CytAssist”        Transcription error
    1        252       19     “recognize.” should be “recognized.”       Transcription error
    1        255       10     “NC2 analysis” should be “in situ          Transcription error
                              analysis”
    1        256       12     “over $400,000 million” should be          Transcription error
                              “over $400 million”
    1        256       23     “whole transcript” should be “whole        Transcription error
                              transcriptome”
    1        256       25     “all transcriptome” should be “whole       Transcription error
                              transcriptome”
    2        292       17     “PTX” should be “PDX”                      Transcription error
    2        305       12     “and ^ being as” should be “and being      Transcription error
                              analyzed”
    2        306        9     “It’s not tinier” should be “It’s a lot    Transcription error
                              tinier”
    2        307        7     “RN” should be “RNA”                       Transcription error
    2        307        8     “RN” should be “RNA”                       Transcription error
    2        307       10     “RN” should be “RNA”                       Transcription error
    2        311       16     “it” should be “I”                         Transcription error
    2        213       11     “FPR1” should be “SPR1”                    Transcription error
                              “FPR2” should be “SPR2”
    2        328       15     “it’s” should be “is”                      Transcription error
    2        330       16     “and bodies” should be “antibodies”        Transcription error
    2        335        2     “pulling” should be “pooling”              Transcription error
    2        335       17     “paring” should be “pairing”               Transcription error
    2        367        7     “RN” should be “RNA”                       Transcription error
    2        374       22     “^SP in situ^” should be “full scope”      Transcription error
    2        390       24     “^ a deliver’s reasons” should be “a       Transcription error
                              SeqID”
    2        401       23     “BY MS. SMITH: (Reading:)” should
                              be “BY MS. SMITH: (Reading in as
                              Mr. Ehrlich)”


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  Volume     Page     Line                  Correction                       Reason
    2        465        7     “through the ReadCoor” should be        Transcription error
                              “through the ReadCoor agreement”
    3        672       10     “B arrays” should be “bead arrays”      Transcription error
    3        672       11     “B array” should be “bead array”        Transcription error
    3        710       5      “Foreign coded” should be “for          Transcription error
                              encoded”
    3        716       25     “overall” should be “over all”          Transcription error
    3        737       16     “target in” should be “target n”        Transcription error
    3        746       16     “lab site” should be “LabCyte”          Transcription error
    3        748       16     “encode the” should be “encoded”        Transcription error
    3        811       18     “have to be on” should be “haven’t      Transcription error
                              beyond”
    4        923       10     “total investment” should be “total     Transcription error
                              addressable market”
    4        927       17     “Counsel” should be “Council”           Transcription error
    4        970       17     “times” should be “types”               Transcription error
    4        974      21-22   “tissue step-off barcoding” should be   Transcription error
                              “barcoding step off-tissue”




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